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                                    December 11, 2008
                                       (via e-mail)




Honorable Maurice B. Cohill, Jr.
United States District Court
   for the Western District of Pennsylvania
8170 United States Post Office and Courthouse
700 Grant Street
Pittsburgh, Pennsylvania 15219-1906

              Re:    United States v. Justin Smith
                     MDPa Criminal No. 08-cr-423

Dear Pinky:

              Thank you for accepting the designation in the above-referenced action.
By copy of this letter I ask that the Clerk of Court for the Middle District of Pennsylvania
docket the enclosed designation order.

                                                 Sincerely,




                                                 /s/ Anthony J. Scirica

AJS:sss
Enclosure
cc:   Honorable Donetta W. Ambrose
      Honorable Yvette Kane
      Mary E. D’Andrea, Clerk
      Toby D. Slawsky, Circuit Executive
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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA




                            UNITED STATES OF AMERICA

                                              v.

                                      JUSTIN SMITH

                                  Criminal No. 08-cr-423




                    DESIGNATION OF DISTRICT JUDGE
          FOR SERVICE IN ANOTHER DISTRICT WITHIN THE CIRCUIT




              Pursuant to the provisions of 28 U.S.C. § 292(b), and after satisfying myself

that it is in the public interest to do so, I do hereby designate and assign the Honorable

Maurice B. Cohill, Jr. of the Western District of Pennsylvania for such a period as is

necessary for the disposition of the above-entitled matter.


                                                        /s/ Anthony J. Scirica
                                                   Anthony J. Scirica, Chief Judge
                                                   United States Court of Appeals
                                                         for the Third Circuit
